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IN THE UNITED STATES DISTRICT COURT 0 "’:

FoR THE WESTERN DISTRICT oF TENNESSEE "Wr& 05
EASTERN DIVISION nw _ 441 6_ t
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MICHAEL D. MOSBY, ) iii 0`,$“/';/€/@ ;);;P;;>//n
) "v-’€'@ 7
Plaintifr, ) 553 f
)
vs. ) N@. 02-1250-T/An
)
MICHAEL sTRAIN, )
)
Defendant. )

 

ORDER DENYING MOTION FOR ASSISTANCE WITH PRE-TRIAL ORDER

 

Plaintiff Michael D. Mosby has filed a motion requesting either assistance or the
appointment of counsel to assist him with preparing a pre-trial order, which is due on or
before June 3, 2005. This motion is DENIED.

Although the setting letter issued on January 19, 2005 stated that a joint pre-trial
order would be due, it would be very difficult for the parties in this case to consult and agree
on such an order, as the plaintiff is still incarcerated Therefore, instead of a joint pre-trial
order, the parties may each file a pre-trial brief setting out their position on the issues in this

CB.S€.

IT IS SO ORDERED. b 9 2 g
JAM§§ D. TODD

UNI'£ED STATES DISTRICT JUDGE

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with Rule 58 and.'or,'!Q (a} FF|CP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 115 in
case 1:02-CV-01250 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

